               IN THE UNITED STATES DISTRICT COURT FOR THE
                       MIDDLE DISTRICT OF TENNESSEE
                            NASHVILLE DIVISION

UNITED STATES OF AMERICA                         )
                                                 )
                                                 )
v.                                               )       Criminal No. 3:09-00099-08
                                                 )       Judge Trauger
                                                 )
CALVIN ISAIAH PRICE                              )

                                          ORDER

      By agreement of the parties announced at the beginning of the revocation proceeding

held on July 16, 2014, it is hereby ORDERED that this revocation proceeding is CONTINUED

and RESET for Monday, August 18, 2014, at 3:00 p.m.

      It is so ORDERED.

      Enter this 17th day of July 2014.



                                                 ___________________________________
                                                         ALETA A. TRAUGER
                                                       United States District Judge




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